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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

ZEBA, LLC                                          §
     Plaintiff,                                    §
                                                   §          Case No. ________
v.                                                 §                JURY
                                                   §
CERTAIN UNDERWRITERS AT                            §
LLOYD’S, LONDON                                    §
    Defendant.

                           PLAINTIFF’S ORIGINAL COMPLAINT

           Zeba, LLC (“Plaintiff”) complains of Certain Underwriters at Lloyd’s, London

(“Defendant”), and would respectfully show as follows:

                                          I.
                             PARTIES AND PROCESS SERVICE

1.     Plaintiff is a Texas limited liability partnership domiciled in Texas with its principle

place of business in Nueces County, Texas. Plaintiff’s members are citizens of Texas, and

therefore for purposes of diversity jurisdiction, Plaintiff is considered a citizen of Texas.

2.     Defendant is a foreign surplus lines insurance company engaging in the business of

insurance in Texas, operating for the purpose of accumulating monetary profit.             Defendant

regularly conducts the business of insurance in a systematic and continuous manner in the State

of Texas. For purposes of diversity jurisdiction, Defendant is not considered a citizen of Texas.

Defendant may be served with a Summons or a Waiver of Summons process by serving its

designated agent for service: Mendes & Mount, 750 Seventh Avenue, New York, New York,

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                                               II.
                                    JURISDICTION AND VENUE

3.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a) because there is complete

diversity of citizenship between Plaintiff and Defendant and the amount in controversy exceeds

the sum of $75,000.00, exclusive of interests and costs.

4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because this action

concerns real property located in Nueces County, Texas, and all or a substantial part of the

events giving rise to the claim described herein occurred in Nueces County, Texas. The

insurance policy at issue and of which Plaintiff is a beneficiary was to be performed in Nueces

County, Texas, and the losses under the policy (including payments to be made to Plaintiff under

the policy) were required to be made in Nueces County, Texas. Further, investigation, including

communications to and from Defendant and Plaintiff (including telephone calls, mailings, and

other communications to Plaintiff) occurred in Nueces County, Texas.

                                         III.
                           NOTICE AND CONDITIONS PRECEDENT

 5.     Defendant has been provided notice, in writing, of the claims made by Plaintiff in this

complaint, including Plaintiff’s actual damages in the manner and form required.

 6.     All conditions precedent necessary to maintain this action under the policy have been

performed, occurred, or have been waived by Defendant, or Defendant is otherwise estopped

from raising same due to Defendant’s prior breach of the insurance contract.

                                                   IV.
                                                  FACTS

        A. The Property and The Policy.

 7.     This is a claim for insurance proceeds for damages caused by Hurricane Harvey.

Plaintiff owns certain real property with improvements located at 2930-2960 Santa Fe, Corpus

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Christi, TX 78404 (the “Property”), which at the time of Hurricane Harvey were insured by

insurance policy no. B0507XEQ3134717 issued by Lloyd’s (the “Policy”). The Property is an

apartment complex commonly known as the Commodore Apartments and consists of three

separate two-story buildings.




                                               The Property




                                Geographic Location of the Property
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        B. Hurricane Harvey Damage.

8.      On or about August 25, 2017, Hurricane Harvey, recognized as one of the most

devastating natural disasters in United States history, made landfall on the Texas coast in

Aransas County as a Category 4 hurricane. Corpus Christi saw wind speeds up to 90 miles per

hour. Hurricane Harvey continued to travel through the southeast part of Texas, inflicting

billions of dollars in damages to private and public property. The Texas Division of Emergency

Management incurred more than $439 million in costs associated with debris removal, public

property damage, and police/EMS response immediately after Harvey. Texas Governor Greg

Abbott has estimated that Hurricane Harvey’s damages will total an historic $180 billion.




                                      Hurricane Harvey’s Winds


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9.      As a result of Harvey’s extreme winds, the Property sustained significant damage to its

exterior and roofing system through which rain entered the Property causing additional interior

damage.     The wind forces from Hurricane Harvey caused such extensive damage to the

Property’s roofing systems that it is now necessary to completely replace the roofing systems.

All these damages are covered under the Policy. Prior to Hurricane Harvey, the roofing systems

were performing as intended.

        C. The Claim and Defendant’s Failures to Properly Handle The Claim.

10.     After Hurricane Harvey, Plaintiff made a claim (claim no. PF00064) with Defendant and

requested payment for damages to the Property covered by the Policy (the “Claim”). After

Plaintiff made the Claim, Defendant failed to comply with the Policy, the Texas Insurance Code

and Texas law in handling Plaintiff’s claim. Further, Defendant has refused to pay all amounts

due and owing under the Policy for the Claim.

11.     Although Texas law provides that an insurer has a “non-delegable duty” to responsibly

handle claims, delegate its duty is precisely what Defendant did. More specifically, Defendant

retained the services of a third-party adjusting company, Vanguard Claims Administration, Inc.

(“VCA”) and VCA’s property examiner Lina R. Newman to administer, investigate and adjust

the Claim. VCA in turn engaged Vericlaim, Inc. (“Vericlaim”) and its field adjuster Bernie

Farnung to assist with the investigation and adjustment of the Claim. At all material times,

VCA, Newman, Vericlaim, Farnung and all other persons that participated in the handling of the

Claim were acting as agents or employees of Defendant in the course and scope of their agency

or employment with Defendant. Accordingly, Defendant is liable for their acts and omissions.

12.     Defendant delegates its claims decisions and oversight to third-party adjusters like VCA,

Newman and Vericlaim with limited oversight by Defendant. Oftentimes, claims are not even


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reported to the actual insurance company until a third-party administrator decides it rises to a

level that merits the insurer’s attention. In this type of absentee insurer environment, claims

standards and guidelines become arbitrary and are routinely outsourced. Adjuster training is

deferred, or simply never happens. Financial incentives are turned on their head, as the third-

party administrators and adjusters, and the managers who oversee them, are compensated with

bonuses and incentives tied to profitability manufactured by claim denials and underpayments.

Defendant’s absentee structure is such that it is virtually impossible to comply with Texas law

concerning claims handling guidelines and the prohibition on delegating these guidelines. But

for foreign surplus lines insurance entities shielded by a vacuum of regulatory oversight,

delegation to a third-party adjusting company such as VCA (who, upon information and belief,

has a lengthy relationship of resolving claims for Defendant accompanied by a significant

financial incentive to steer claims away from covered losses, where possible) has become the

new normal.

13.     After the Claim was made, Defendant and its agents purported to investigate the Claim.

14.     On March 12, 2018, Defendant (through Vanguard) issued a claim decision letter in

which it contended the roofing systems and the carports at the Property were not damaged by

wind citing a variety of exclusions in the Policy.        Defendant also determined that the

Replacement Cost Value for covered damages to other parts of the Property was $38,226.22.

15.     On August 8, 2018, Defendant, (through Vanguard) issued another claim decision letter

in which it again contended the roofing systems and the carports were not damage by wind.

However, with respect to the covered damages to other parts of the Property, Lloyd’s increased

the amount of the Replacement Cost Value to $44,687.44.




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16.     However, because the Policy carries a deductible of $75,000.00, no payment has been

issued for the Claim.

17.     As will be discussed in more detail below, Defendant’s determination of damages grossly

undervalued the damages the Property suffered due to Hurricane Harvey.

18.     Plaintiff presented a claim under the Policy for Hurricane Harvey damages. It was

Defendant’s responsibility, not Plaintiff’s, to conduct a reasonable and thorough investigation of

the Claim to determine the specific cause of the loss and the amount of loss.             Although

Defendant and its agents are required by Texas law and the Policy to conduct a reasonable and

thorough investigation of the Claim, they failed to do so. Rather, Defendant conducted a

substandard investigation of the Claim, and failed to determine the full amount of Plaintiff’s

damages. Defendant’s inadequate investigation is demonstrated by its conclusion that the

replacement cost value to repair the damages caused to the Property by Hurricane Harvey was

$44,687.44.

19.     Defendant’s improper handling of the Claim subjects it to liability pursuant to TEX. INS.

CODE § 541.001, et seq. and TEX. INS. CODE § 542.051, et seq. Defendant violated TEX. INS.

CODE § 541.060(a) and engaged in Unfair Settlement Practices by:

        a)       Misrepresenting to Plaintiff material facts or policy provisions relating to
                 the coverage at issue. Specifically, Defendant represented to Plaintiff that
                 the amount of structural damage caused to the Property was $44,687.44,
                 when the actual amount of damages is substantially higher. Rather than
                 fully compensate Plaintiff or its losses, Defendant failed to conduct a
                 reasonable and thorough investigation of the claim, and as a result grossly
                 undervalued the amount of Plaintiff’s covered losses.

        b)       Failing to attempt in good faith to effectuate a prompt, fair, and equitable
                 settlement of the Claim, even though Defendant’s liability under the Policy
                 was reasonably clear. Defendant acted in bad faith when it ignored the
                 obvious substantial amount of damages to the Property and failed to
                 properly adjust the Claim.


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        c)       Refusing to pay Plaintiff’s Claim without conducting a reasonable
                 investigation with respect to the Claim. Defendant’s investigation was
                 clearly unreasonable because it failed to determine the full amount of
                 Plaintiff’s damages, even though the damages were obvious and the true
                 amount of cost to repair the damages was readily ascertainable. Had
                 Defendant conducted a reasonable and thorough investigation of the Claim,
                 it would have determined the actual amount of Plaintiff’s covered losses.

Each of the foregoing unfair settlement practices was completed knowingly by Defendant and

was a producing cause of Plaintiff’s injuries and damages.

20.     Further, Defendant violated the prompt payment of claims provisions of TEX. INS. CODE

§ 542.051, et seq. by delaying payment of the Claim following Defendant’s receipt of all items,

statements, and forms reasonably requested and required, longer than the amount of time

provided by TEX. INS. CODE § 542.058. Defendant’s March 12, 2018 claim decision letter

demonstrates Defendant was in receipt of all items, statements, and forms that it would need to

make a claim decision before that date. Defendant had full access to the Property and plenty of

opportunity to investigate the Claim and determine the actual amount of the structural damage

caused by Hurricane Harvey. Thus, because more than 75 days have passed from March 12,

2018 without full payment for the Claim, Defendant has violated the time limits of TEX. INS.

CODE §§ 542.058 and 542.059.

        D. Plaintiff is Forced to Adjust Its Own Claim.

21.     After Defendant failed to reasonably and thoroughly investigate the Claim, Plaintiff was

forced to retain attorneys and its own expert to assist with the Claim. Plaintiff hired Under Paid

Claim, LLC (“UPC”) to investigate the Claim. UPC is a licensed public adjusting firm. UPC

conducted a detailed inspection of the property and determined that the approximate cost to

repair the damage caused to the Property by Hurricane Harvey is at least $216,658.80. All the

repair costs identified by UPC are covered under the terms and conditions of the Policy.


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        E. Plaintiff’s Notice Letter and Defendant’s Second Bite at the Apple.

22.     On June 1, 2017, Governor Abbot signed House Bill 1774 into law as Section 542A of

the Texas Insurance Code.           This new law was sponsored by approximately sixty state

representatives and senators and contains important consumer protections against a variety of

unscrupulous practices. Section 542A.003 in particular requires detailed, comprehensive pre-suit

notice that is intended to make the claims and litigation processes more transparent and

potentially even avoid unnecessary lawsuits. Upon receiving notice, an insurer has a right to

conduct an inspection, and even make an offer to avoid litigation. When utilized properly,

Section 542A should assist business consumers like Plaintiff to avoid protracted litigation over a

clear claim.

23.     On November 29, 2018, Plaintiff (through its counsel) sent Defendant a letter notifying

Defendant of Plaintiff’s claims against Defendant arising under Chapters 541 and 542 of the

Texas Insurance Code, as required by TEX. INS. CODE §§ 541.154 and 542A.003 (the “Notice

Letter”). The Notice Letter specifically described Defendant’s violations of the Texas Insurance

Code, using language substantially identical to the allegations contained in this pleading.

Further, the Notice Letter provided a comprehensive outline of Plaintiff’s claims and damages,

and quantified Plaintiff’s losses on the Claim (by presenting the detailed expert report and photos

from UPC).

24.     Defendant never acknowledged nor responded to Plaintiff’s Notice Letter. Even though

almost a year and a half has passed since Hurricane Harvey damaged the Property, and even

though Plaintiff has now fully adjusted the Claim for the Defendant and provided Defendant all

that it needs to make a decision on the Claim, Defendant has still not honored its obligations




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under the Policy. Defendant has been given a second bite at the apple and has still failed

Plaintiff.

        F. Defendant’s Insurance Code Violations.

25.     Defendant failed to perform its contractual duties to adequately compensate Plaintiff

under the terms of the Policy. Specifically, Defendant refused to pay for damages owed under

the Policy, although due demand was made for proceeds to be paid in an amount sufficient to

cover the damaged property and all conditions precedent to recovery upon the Policy in question

had been satisfied by Plaintiff. Defendant’s conduct constitutes a breach of the insurance

contract between Defendant and Plaintiff.

26.     Defendant misrepresented to Plaintiff that damage to the Property was not covered under

the Policy, even though the damage was covered by the Policy. Defendant’s conduct constitutes

a violation of TEX. INS. CODE §541.060(a)(1).

27.     Defendant failed to attempt in good faith to effectuate a prompt, fair, and equitable

settlement of Plaintiff’s Claim, when Defendant’s liability was reasonably clear. Defendant’s

conduct constitutes a violation of TEX. INS. CODE §541.060(a)(2)(a).

28.     Defendant failed to explain to Plaintiff the reasons for its offer of an inadequate

settlement/claim denial. Specifically, Defendant failed to offer Plaintiff adequate compensation,

without any explanation why full payment was not being made. Furthermore, Defendant did not

communicate that any future settlements or payments would be forthcoming to pay for the entire

loss covered under the Policy, nor did Defendant provide any explanation for the failure to

adequately settle Plaintiff’s claim. Defendant’s conduct constitutes a violation of TEX. INS.

CODE §541.060(a)(3).




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29.     Defendant failed to affirm or deny coverage of Plaintiff’s claim within a reasonable time.

Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding the

full and entire claim, in writing from Defendant. Defendant’s conduct constitutes a violation of

TEX. INS. CODE §541.060(a)(4)(A).

30.     Defendant refused to fully compensate Plaintiff for the Claim without conducting a

reasonable investigation of the Claim. Rather, Defendant performed an unreasonable outcome-

oriented investigation of Plaintiff’s Claim, which resulted in a biased, unfair and inequitable

evaluation of Plaintiff’s Claim. Defendant’s conduct constitutes a violation of TEX. INS. CODE

§541.060(a)(7).

31.     Defendant failed to meet its obligations under the Texas Insurance Code regarding the

timely acknowledgement of Plaintiff’s Claim, beginning an investigation of Plaintiff’s Claim and

requesting all information reasonably necessary to investigate Plaintiff’s Claim within the

statutorily mandated time of receiving notice of Plaintiff’s claim.          Defendant’s conduct

constitutes a violation of TEX. INS. CODE §542.055.

32.     Defendant failed to accept or deny Plaintiff’s full and entire Claim within the statutorily

mandated time of receiving all necessary information.         Defendant’s conduct constitutes a

violation of TEX. INS. CODE §542.056.

33.     Defendant failed to meet its obligations under the Texas Insurance Code regarding

payment of claims without delay. Specifically, Defendant has delayed full payment of Plaintiff’s

Claim longer than allowed and, to date, Plaintiff has not yet received full payment for Plaintiff’s

Claim. Defendant’s conduct constitutes a violation of TEX. INS. CODE §542.058.

34.     From and after the time Plaintiff’s Claim was presented to Defendant, the liability of

Defendant to pay the full Claim in accordance with the terms of the Policy was reasonably clear.


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However, Defendant has refused to pay Plaintiff in full, despite there being no basis whatsoever

on which a reasonable insurance company would have relied on to deny the full payment.

Defendant’s conduct constitutes a breach of the common law duty of good faith and fair dealing.

35.       Defendant knowingly or recklessly made false representations, as described above, as to

material facts and/or knowingly concealed material information from Plaintiff.

36.       Because of Defendant’s wrongful acts and omissions, Plaintiff was forced to retain the

professional services of the law firm who is representing Plaintiff with respect to these causes of

action.

37.       In summary, Defendant has failed to comply with the Policy, the Texas Insurance Code,

and Texas Law in handling the Claim, and has failed to pay all amounts due and owing under the

Policy for the Claim. Defendant and its representatives failed to perform a thorough investigation

of Plaintiff’s Claim, failed to employ appropriate or qualified consultants to evaluate the

damages, delayed resolution of the Claim under Texas law, and misrepresented applicable scopes

of damages as well as the terms of the Policy.           Further, Defendant’s outcome-oriented

investigation of Plaintiff’s Claim resulted in a biased, unfair, and inequitable evaluation of

Plaintiff’s loss intended to construct a pretextual basis for the denial or underpayment of

Plaintiff’s Claim. Adjusters employed by Defendant violated the law through their own acts and

omissions in the handling of the Claim. Because of these violations of law and wrongful conduct,

Plaintiff has sustained and continues to sustain significant damages, including but not limited to

property damage, diminution of property value, attorney’s fees, financial harm, and other

consequential damages.




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                                                V.
                                         CAUSES OF ACTION

38.     Plaintiff incorporates all of the aforementioned facts into its causes of action below for all

purposes. Defendant is liable to Plaintiff for breach of contract, as well as intentional violations

of the Texas Insurance Code and breach of the common law duty of good faith and fair dealing.

        A. Breach of Contract.

39.     The Policy is a valid, binding and enforceable contract between Plaintiff and Defendant.

Defendant breached the contract by refusing to perform its obligations under the terms of the

Policy and pursuant to Texas law. Defendant’s breach proximately caused Plaintiff injuries and

damages. All conditions precedent required under the Policy have been performed, excused,

waived or otherwise satisfied by Plaintiff, or Defendant is estopped from raising the issue due to

Defendant’s prior breach of the insurance contract.

        B. Noncompliance With Texas Insurance Code: Unfair Settlement Practices.

40.     The conduct, acts, and/or omissions by Defendant constituted Unfair Settlement Practices

pursuant to TEX. INS. CODE. § 541.060(a). All violations under this article are made actionable

by TEX. INS. CODE § 541.151.

41.     Defendant’s unfair settlement practice, as described above, of misrepresenting to Plaintiff

material facts relating to the coverage at issue, constitutes an unfair method of competition and

an unfair and deceptive act or practice in the business of insurance.            TEX. INS. CODE §

541.060(a)(1).

42.     Defendant’s unfair settlement practice, as described above, of failing to attempt in good

faith to effectuate a prompt, fair, and equitable settlement of the claim, even though Defendant’s

liability under the Policy was reasonably clear, constitutes an unfair method of competition and



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an unfair and deceptive act or practice in the business of insurance.         TEX. INS. CODE §

541.060(a)(2)(A).

43.     Defendant’s unfair settlement practice, as described above, of failing to promptly provide

Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the facts or

applicable law, for its offer of a compromise settlement of the claim, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE § 541.060(a)(3).

44.     Defendant’s unfair settlement practice, as described above, of failing within a reasonable

time to affirm or deny coverage of the claim to Plaintiff or to submit a reservation of rights to

Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or practice

in the business of insurance. TEX. INS. CODE § 541.060(a)(4).

45.     Defendant’s unfair settlement practice, as described above, of refusing to pay Plaintiff’s

claim without conducting a reasonable investigation, constitutes an unfair method of competition

and an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE §

541.060(a)(7).

46.     Defendant’s conduct described above compelled Plaintiff to initiate a lawsuit to recover

amounts due under its policy by offering substantially less than the amount ultimately recovered.

Defendant’s continued failure to properly handle the Claim compelled Plaintiff to file suit. TEX.

INS. CODE § 542.003(b)(5).

        C. Prompt Payment of Claims Violations.

47.     The Claim is a claim under an insurance policy with Defendant of which Plaintiff gave

Defendant notice. Defendant is liable for the Claim. Defendant violated the prompt payment of

claims provisions of TEX. INS. CODE § 542.051, et seq. by:


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        a) Failing to acknowledge receipt of the Claim, commence investigation of the Claim,
           and/or request from Plaintiff all items, statements, and forms that Defendant
           reasonably believed would be required within the time constraints provided by TEX.
           INS. CODE § 542.055;

        b) Failing to notify Plaintiff in writing of its acceptance or rejection of the Claim within
           the applicable time constraints provided by TEX. INS. CODE § 542.056; and/or by

        c) Delaying payment of the Claim following Defendant’s receipt of all items,
           statements, and forms reasonably requested and required, longer than the amount of
           time provided by TEX. INS. CODE § 542.058.

48.     Defendant’s violations of these prompt payment of claims provisions of the Texas

Insurance Code are made actionable by TEX. INS. CODE § 542.060.

        D.       Breach of The Duty of Good Faith and Fair Dealing.

49.     Defendant breached the common law duty of good faith and fair dealing owed to Plaintiff

by denying or delaying payment on the Claim when Defendant knew or should have known that

its liability to Plaintiff was reasonably clear. Defendant’s conduct proximately caused Plaintiff

injuries and damages.

                                                VI.
                                             KNOWLEDGE

50.     Defendant’s acts described above, together and singularly, was done “knowingly” as that

term is used in the Texas Insurance Code and was a producing cause of Plaintiff’s damages

described herein.

                                                  VII.
                                                DAMAGES

51.     Plaintiff will show that all the aforementioned acts, taken together or singularly,

constitute the producing causes of the damages sustained by Plaintiff.

52.     For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff’s bargain,

which is the amount of Plaintiff’s Claim, together with attorney fees.


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53.     For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

is entitled to actual damages, which include but are not limited to, the loss of the benefits that

should have been paid pursuant to the Policy, court costs and attorney’s fees. For knowing

conduct of the acts complained of, Plaintiff asks for three times Plaintiff’s actual damages. TEX.

INS. CODE § 541.152.

54.     For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

entitled to the amount of Plaintiff’s Claim, as well as a statutory interest penalty calculated per

annum based on the amount of Plaintiff’s Claim, and with attorney’s fees. TEX. INS. CODE

§542.060.

55.     For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer’s breach of duty,

such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

owed, exemplary damages and damages for emotional distress.

56.     For the prosecution and collection of this claim, Plaintiff has been compelled to engage

the services of the law firm whose names are subscribed to this pleading. Therefore, Plaintiff is

entitled to recover a sum for the reasonable and necessary services of Plaintiff’s attorneys in the

preparation and trial of this action, including any appeals to the Court of Appeals and/or the

Supreme Court of Texas.

                                                VIII.
                                            JURY DEMAND

57.     Plaintiff hereby requests a jury trial and tenders the appropriate jury fee.




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                                                   IX.
                                                 PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof,

Plaintiff has and recovers such sums as would reasonably and justly compensate Plaintiff in

accordance with the rules of law and procedure, both as to actual damages, statutory penalties

and interest, treble damages under the Texas Insurance Code and all punitive and exemplary

damages as may be found. In addition, Plaintiff requests the award of attorney’s fees for the trial

and any appeal of this case, for all costs of Court on its behalf expended, for pre-judgment and

post-judgment interest as allowed by law, and for any other and further relief, either at law or in

equity, to which Plaintiff may show itself to be justly entitled.



                                                       Respectfully submitted,


                                                       LUNDQUIST LAW FIRM

                                                       /s/ William W. Lundquist
                                                       William W. Lundquist
                                                       So. Dist. Texas No. 38019
                                                       Texas Bar No.: 24041369
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                                                       ATTORNEY-IN-CHARGE FOR PLAINTIFF




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